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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 BOBBY LOUIS PECK,                      )
                                        )
                    Plaintiff,          )
                                        )     CAUSE NO. 3:06-CV-226 AS
       v.                               )
                                        )
 CECIL K. DAVIS, et al.,                )
                                        )
                    Defendants.         )

                                 OPINION AND ORDER

       Bobby Louis Peck, a pro se prisoner, submitted a complaint under 42 U.S.C.

 § 1983. Pursuant to 28 U.S.C. § 1915A, the court must review the merits of a

 prisoner complaint and dismiss it if the action is frivolous or malicious, fails to

 state a claim upon which relief may be granted, or seeks monetary relief against

 a defendant who is immune from such relief. FED . R. CIV . P. 12(b)(6) provides for

 the dismissal of a complaint, or any portion of a complaint, for failure to state a

 claim upon which relief can be granted. The court applies the same standard

 under § 1915A as when addressing a motion under Rule 12(b)(6). Weiss v. Colley,

 230 F.3d 1027 (7th Cir. 2000).

       A claim may be dismissed only if it appears beyond doubt that the
       plaintiff can prove no set of facts in support of his claim which would
       entitle him to relief. Allegations of a pro se complaint are held to less
       stringent standards than formal pleadings drafted by lawyers.
       Accordingly, pro se complaints are liberally construed.
              In order to state a cause of action under 42 U.S.C. § 1983, the
       Supreme Court requires only two elements: First, the plaintiff must
       allege that some person has deprived him of a federal right. Second,
       he must allege that the person who has deprived him of the right
       acted under color of state law. These elements may be put forth in
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       a short and plain statement of the claim showing that the pleader is
       entitled to relief. FED . R. CIV . P. 8(a)(2). In reviewing the complaint on
       a motion to dismiss, no more is required from plaintiff's allegations
       of intent than what would satisfy Rule 8's notice pleading minimum
       and Rule 9(b)'s requirement that motive and intent be pleaded
       generally.

 Alvarado v. Litscher, 267 F.3d 648, 651 (7th Cir. 2001) (citations, quotation marks

 and ellipsis omitted).

       Mr. Peck alleges that, based on false reports, he was charged and found

 guilty of violating a prison rule for which he lost good time credit. On appeal the

 findings were overturned. On re-hearing, he was found guilty and again lost good

 time. On appeal, the findings were overturned and the sanctions rescinded. He

 alleges that he was denied the opportunity to present evidence at both hearings.

       Specifically, Mr. Peck alleges that on March 2, 2005, Charles E. Whelan

 retaliated against him for testifying in a previous lawsuit by writing a false

 disciplinary report about him. Mr. Peck also alleges that Charles E. Whelan

 separately retaliated by providing evidence consistent with the report during his

 two C.A.B. hearings. These are not distinct acts of retaliation, but rather one

 continuous act. Therefore these claims are addressed collectively.

       Prison officials may not retaliate against an inmate for exercising his First

 Amendment rights, even if their actions would not independently violate the

 Constitution. See Zimmerman v. Tribble, 226 F.3d 568, 573 (7th Cir.2000). To state

 a claim for retaliation, the complaint must first allege that the plaintiff was

 engaged in a Constitutionally protected activity and second, that engaging in that

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 activity was a substantial or motivating factor in the defendant’s actions against

 him. See Mt. Healthy City School District v. Doyle, 429 U.S. 274 (1977). That is to

 say, the plaintiff must allege that the retaliatory act would not have occurred “but

 for” the protected conduct. Giving Mr. Peck the benefit of the inferences to which

 he is entitled at the pleading stage of this proceeding, this states a claim for

 retaliation.

       Mr. Peck alleges that in addition to the false report by Charles E. Whelan

 on March 2, 2005, Barbara L. Roseborough and Farshawna L. Crook knowingly

 provided false reports about him on March 2, 2005 and April 4, 2005, respectively.

 An inmate states a claim under § 1983 if a guard knowingly prepares a false

 report that is the basis for sanctions against the inmate if the inmate was also

 denied his rights under Wolff v. McDonnell, 418 U.S. 539 (1974).

       [A]n allegation that a prison guard planted false evidence which
       implicates an inmate in a disciplinary infraction fails to state a claim
       for which relief can be granted where the procedural due process
       protections as required in Wolff v. McDonnell are provided.

 Hanrahan v. Lane, 747 F.2d 1137, 1141 (7th Cir. 1983). Here Mr. Peck alleges that

 he was denied a Wolff right, that he lost good time credit, and that the

 punishment which resulted from these reports was rescinded when the case was

 dismissed on subsequent appeal. Giving Mr. Peck the benefit of the inferences to

 which he is entitled at the pleading stage of this proceeding, these allegations

 state claims for knowingly submitting false reports.



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       Mr. Peck alleges that James L. Cadwell, Bessie E. Leonard, and Ernesto

 Delao denied him due process during his C.A.B. re-hearing on April 7, 2005 when

 they refused to consider exculpatory evidence which he sought to introduce. He

 also alleges that John C. Cosich, Larry A. Ludwig, and Kyle R. Moore denied him

 due process during his C.A.B. hearing on June 22, 2005 when they refused to

 consider exculpatory evidence which he sought to introduce. Wolff v. McDonnell,

 418 U.S. 539 (1974) requires that an inmate be afforded the opportunity to

 introduce evidence at such a hearing where he loses good time. Edwards v.

 Balisok, 520 U.S. 641 (1997). Giving Mr. Peck the benefit of the inferences to

 which he is entitled at the pleading stage of this proceeding, these allegations

 state claims for a denial of due process because even without proof of actual

 injury, denial of procedural due process is actionable for nominal damages. Carey

 v. Phiphus, 435 U.S. 247, 266 (1978).

       Mr. Peck also alleges that John C. Cosich, Larry A. Ludwig, and Kyle R.

 Moore retaliated against him during his rehearing on June 22, 2006 by imposing

 greater punishment than he received from his first hearing. He alleges that they

 retaliated because he successfully appealed from his first hearing. Giving Mr. Peck

 the benefit of the inferences to which he is entitled at the pleading stage of this

 proceeding, this states a claim for retaliation.

       Additionally, Mr. Peck alleges that none of the C.A.B. members were

 impartial. Mr. Peck misunderstands the meaning of the impartial decision maker


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 requirement. It is not mere duplication of the other Wolff rights and it is not

 violated merely because the decision maker violated one of them. Rather, it is

 violated only if the decision maker is substantially involved in the investigation of

 the charges against the inmate. See Merritt v. De Los Santos, 721 F.2d 598, 601

 (7th Cir. 1983). Here, Mr. Peck does not allege, and based on this complaint it

 would not be reasonable to infer, that any of these six C.A.B. members were

 substantially involved in the investigation of the charges against him. Therefore

 these claims will be dismissed.

       Mr. Peck alleges that Jason P. Nowatzke and Kristina J. McCarty denied

 him due process when they screened his case before each of the two C.A.B.

 hearings discussed above. Nothing that either of these defendants did at his

 screenings could have denied him due process. Neither the due process

 requirements of the Constitution nor Wolff v. McDonnell, 418 U.S. 539 (1974)

 require screenings and Mr. Peck had no right to introduce any evidence at the

 screening. Rather it was at the C.A.B. hearing itself where he was entitled to

 introduce exculpatory evidence and where his due process rights were violated,

 if they were violated at all. Therefore these claims and defendants will be

 dismissed.

       Mr. Peck alleges that Donald M. Bates twice denied him due process during

 his appeals of the C.A.B. determinations. Neither the due process requirements

 of the Constitution nor Wolff v. McDonnell, 418 U.S. 539 (1974) require the


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 opportunity to appeal a C.A.B. ruling; therefore this claim and defendant will be

 dismissed.

       Mr. Peck alleges that Cecil K. Davis did not enforce I.D.O.C. policies, but the

 violation of an IDOC policy does not state a claim under § 1983. Alvarado v.

 Litscher, 267 F.3d 648, 651 (7th Cir. 2001). He alleges that Cecil K. Davis did not

 stop retaliation against him which he complained about nearly six or more months

 before the two separate acts of retaliation alleged in this lawsuit. At the time that

 Mr. Peck wrote to the Superintendent Davis, there was no retaliation to stop.

 Furthermore, he does not allege, and based on this complaint it would not be

 reasonable to infer, that Superintendent Davis had any personal involvement in

 writing the false disciplinary report or in selecting a punishment at his re-hearing.

 Finally Mr. Peck alleges that Cecil K. Davis did not protect is due process rights.

 Again, it would not be reasonable to infer that Superintendent Davis had any

 personal involvement in these disciplinary proceedings. “[T]he doctrine of

 respondeat superior can not be used to hold a supervisor liable for conduct of a

 subordinate that violates a plaintiff's constitutional rights.” Chavez v. Illinois State

 Police, 251 F.3d 612, 651 (7th Cir. 2001) (citations and quotation marks omitted).

 Therefore these claims and this defendant will be dismissed.

       Mr. Peck seeks both injunctive relief and monetary damages from the

 defendants in both their individual and official capacities. “[A] suit against a[n] .

 . . official in his or her official capacity is not a suit against the official but rather


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 is a suit against the official's office.” Will v. Michigan Dep’t of State Police, 491 U.S.

 58, 71 (1989). The Eleventh Amendment prohibits monetary damage suits against

 States and their agencies. Kashani v. Purdue University, 813 F.2d. 843, 845 (7th

 Cir. 1987). Therefore Mr. Peck may not proceed against any defendant in their

 official capacity for monetary damages.

       Injunctive relief may be obtained from a person in his official capacity under

 the doctrine of Ex Parte Young. Holton v. Ind. Horse Racing Comm'n, 398 F.3d 928,

 929 (7th Cir. 2005). But here, the injunctive relief Mr. Peck seeks is to prevent

 further retaliation. Because none of the retaliatory claims on which he is

 proceeding in this lawsuit is an official capacity claim, there is no basis for an

 official capacity injunction in this case. So though he may proceed on his

 injunctive relief claims against those individual capacity defendants against which

 he has a retaliation claim, the official capacity claims must be dismissed.

       Several claims have survived, but Mr. Peck has not provided any summons

 nor any USM-285's for serving the remaining defendants in this case. Therefore

 Mr. Peck will be granted time to prepare and submit a motion requesting service

 of process by the United States Marshals Service along with two properly

 completed summons and USM-285's for Charles E. Whelan, Barbara L.

 Roseborough, Farshawna L. Crook, James L. Cadwell, Bessie E. Leonard, Ernesto

 Delao, John C. Cosich, Larry A. Ludwig, and Kyle R. Moore. Mr. Peck is cautioned

 that if, before the deadline, he does not provide the court with the documents


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 needed to serve these defendants, the remaining claims will be dismissed for not

 complying with an order of this court pursuant to FED . R. CIV . P. 41(b).

       For the foregoing reasons, the court:

       (1) GRANTS Bobby Louis Peck leave to proceed against Charles E. Whelan

 in his individual capacity for monetary damages and injunctive relief for retaliating

 against him for testifying during a prior lawsuit by writing a false disciplinary

 report on March 2, 2005 and providing evidence consistent with that report during

 his two C.A.B. hearings;

       (2) GRANTS Bobby Louis Peck leave to proceed against Charles E. Whelan

 in his individual capacity for monetary damages for knowingly writing a false

 disciplinary report on March 2, 2005;

       (3) GRANTS Bobby Louis Peck leave to proceed against Barbara L.

 Roseborough in her individual capacity for monetary damages for knowingly

 writing a false report on March 2, 2005;

       (4) GRANTS Bobby Louis Peck leave to proceed against Farshawna L. Crook

 in her individual capacity for monetary damages for knowingly writing a false

 report on April 4, 2005;

       (5) GRANTS Bobby Louis Peck leave to proceed against James L. Cadwell,

 Bessie E. Leonard, and Ernesto Delao in their individual capacities for monetary

 damages for a denial of due process by refusing to consider exculpatory evidence

 during his C.A.B. hearing on April 7, 2005;


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       (6) GRANTS Bobby Louis Peck leave to proceed against John C. Cosich,

 Larry A. Ludwig, and Kyle R. Moore in their individual capacities for monetary

 damages for for a denial of due process by refusing to consider exculpatory

 evidence during his C.A.B. hearing on June 22, 2005;

       (7) GRANTS Bobby Louis Peck leave to proceed against John C. Cosich,

 Larry A. Ludwig, and Kyle R. Moore in their individual capacities for monetary

 damages and injunctive relief for retaliating against him on June 22, 2005 for

 appealing from his prior C.A.B. hearing by imposing greater punishment than he

 received at his first hearing;

       (8) DISMISSES all other claims;

       (9) DISMISSES Cecil K. Davis, Donald M. Bates, Jason P. Nowatzke and

 Kristina J. McCarty;

       (10) DIRECTS the clerk to enclose 18 summons and 9 USM-285's along

 with the copy of this order that is sent to Bobby Louis Peck;

       (11) GRANTS Bobby Louis Peck to and including August 15, 2006 to submit

 a motion requesting service of process by the United States Marshals Service

 along with two properly completed summons and USM-285's for Charles E.

 Whelan, Barbara L. Roseborough, Farshawna L. Crook, James L. Cadwell, Bessie

 E. Leonard, Ernesto Delao, John C. Cosich, Larry A. Ludwig, and Kyle R. Moore;

 and




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       (12) CAUTIONS Bobby Louis Peck that if, before that deadline, he does not

 provide the court with the documents needed to serve these defendants, the

 remaining claims of this amended complaint will be dismissed for not complying

 with an order of this court pursuant to Fed. R. Civ. P. 41(b).

       IT IS SO ORDERED.

       ENTERED: July 21 , 2006


                                           S/ ALLEN SHARP
                                       ALLEN SHARP, JUDGE
                                       UNITED STATES DISTRICT COURT




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